
705 S.E.2d 359 (2010)
Randy Lee DUCKWORTH, Employee
v.
SGL CARBON, Employer and
Ace USA/ESIS, Carrier.
No. 372P10.
Supreme Court of North Carolina.
December 15, 2010.
Edward A. Sweeney, for SGL Carbon, L.L.C. and Ace USA/ESIS.
Stephen T. Daniel, Morganton, for Duckworth, Randy Lee.

ORDER
Upon consideration of the petition filed on the 1st of September 2010 by Defendants in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 15th of December 2010."
